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AO 245B (CASD Rev. 1/19) Judgment in a Criminal Case



                                         UNITED STATES DISTRICT                              Co       TCLUli<USD .n rcouFn
                                                                                                  SOUTH EHN DiS      . OF CALIFORNIA,
                                           SOUTHERN DISTRICT OF CALIFORNIA                        BY                         DEPUTY
                                                                                                  '-"-'---------=C:..:.:.:...:..J
                UNITED STATES OF AMERICA                              JUDGMENT IN A CRIMINAL CASE
                                    V.                                (For Offenses Committed On or After November I, 1987)


                  Juan Carlos Cardoso-Lara                               Case Number:        20-cr-03007-AHG
                                                                      Max August Schoening
                                                                      Defendant's Attorney
USM Number                          97271298
• -
THE DEFENDANT:
 l:B:I pleaded guilty to count(s)        1 OF THE INFORMATION

 D  was found guilty on count(s)
    after a olea of not guiltv.
Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                     Count
Title & Section                      Nature of Offense                                                              Number(s)
8 USC 1325(a)(l)                     Improper Entry by an Alien (Misdemeanor)                                          1




    The defendant is sentenced as provided in pages I ihrough     _ ___,2:.___ of this judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.
D       The defendant has been found not guilty on count(s)

1:8:1 Count(s) Underlying Complaint                                       dismissed without prejudice on the motion of the United
                                                                is
                                                                          States.

        Assessment : $
l:B:I   Pursuant to the motion of the United States under 18 USC 3573, the special assessment provided for under 18 USC 3013 is
        waived and remitted as uncollectible.
D       JVTA Assessment*: $
        *Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
1:8:1   No fine                D Forfeiture pursuant to order filed                                           ,.included herein.
       IT IS ORDERED that the defendant must notify the United States Attorney for this district within 3 0 days of any
change of name, residence, or mailing address until all fines; restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant must notify the court and United States Attorney of
any material change in the defendant's economic circumstances.


                                                                      October 2 2020
                                                                     Date of Imposition of Sentence



                                                                     HO~ O N H. GODDARD
                                                                     UNITED STATES DISTRICT JUDGE
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DEFENDANT:                Juan Carlos Cardoso-Lara                                                  Judgment - Page 2 of2
CASE NUMBER:              20-cr-03007-AHG



                                                  IMPRISONMENT
 The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total term of:
 TIME SERVED.




•      Sentence imposed pursuant to Title 8 USC Section 1326(b).
•      The court makes the following recommendations to the Bureau of Prisons:




•      The defendant is remanded to the custody of the United States Marshal.

•      The defendant must surrender to the United States Marshal for this district:
       •    at
                 --------- P.M.                               by----------------
       •    as notified by the United States Marshal.

      The defendant must surrender for service of sentence at the institution designated by the Bureau of
•     Prisons:
       •    on or before
       •    as notified by the United States Marshal.
       •    as notified by the Probation or Pretrial Services Office.

                                                       RETURN
I have executed this judgment as follows:

      Defendant delivered on   _ _ _ _ _ _ _ _ _ _ _ _ _ to _ _ _ _ _ _ _ _ _ _ _ _ _ __

at _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.


                                                                UNITED STATES MARSHAL



                                    By                     DEPUTY UNITED STATES MARSHAL



                                                                                                    20-cr-03007-AHG
